Case 2:18-cv-00113-JRG-RSP Document 24 Filed 06/15/20 Page 1 of 2 PageID #: 74



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 ULTRAVISION TECHNOLOGIES, LLC,           §
                                          §
           Plaintiff,                     §
                                          §     Case No. 2:18-cv-00100-JRG-RSP
 v.                                       §     LEAD CASE
                                          §
 GOVISION, LLC,                           §
                                          §
                                          §
 GLUX VISUAL EFFECTS TECH                 §     Case No. 2:18-cv-00099-JRG-RSP
 (SHENZHEN) CO.,                          §     MEMBER CASE
                                          §
                                          §
 LEYARD OPTOELECTRONIC CO. ET             §     Case No. 2:18-cv-00102-JRG-RSP
 AL.S,                                    §     MEMBER CASE
                                          §
                                          §
 SHENZHEN LIANTRONICS CO., LTD.           §     Case No. 2:18-cv-00103-JRG-RSP
 ET AL.,                                  §     MEMBER CASE
                                          §
                                          §
 SHENZHEN AOTO ELECTRONICS                §     Case No. 2:18-cv-00113-JRG-RSP
 CO., LTD., ET AL.,                       §     MEMBER CASE
                                          §
                                          §
 UNILUMIN GROUP CO., LTD. ET AL.,         §     Case No. 2:18-cv-00116-JRG-RSP
                                          §     MEMBER CASE
           Defendants.                    §

                             DECONSOLIDATION ORDER

             The Court ORDERS the District Clerk to deconsolidate member case No.

2:18-cv-00099-JRG-RSP, 2:18-cv-00102-JRG-RSP, 2:18-cv-00103-JRG-RSP, 2:18-cv-

00113-JRG-RSP, and 2:18-cv-00116-JRG-RSP from lead case 2:18-cv-00100-JRG-RSP.

All other member cases remain consolidated.




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      SIGNED this 3rd day of January, 2012.
      SIGNED this 12th day of June, 2020.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE




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